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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                    )
                                             )
                    Plaintiff,               )                  4:09CR3134
                                             )
             V.                              )
                                             )
KORINA KIT KUCERA,                           )                    ORDER
                                             )
                    Defendant.               )
                                             )
                                             )


      At the court’s request and with the parties’ consent, the defendant’s change of plea
hearing is rescheduled from 2:30 P.M. to 11:30 A.M. on April 2, 2010.


      DATED this 29 th day of March, 2010.


                                            s/ Cheryl R. Zwart
                                            United States Magistrate Judge
